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 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                               Case No. 3:24-mj-00046-CSD
12                  Plaintiff,                               ORDER APPROVING
                                                             UNOPPOSED MOTION TO
13          v.
                                                             CONTINUE DEADLINE FOR
14   KIRSTEN BAILEY,                                         ARRANGING A COURT DATE IN
                                                             D.C. SUPERIOR COURT1
15                  Defendant.
16
17          Ms. Bailey asks the Court for a 10-day continuance (to August 6, 2024) on her deadline
18   to arrange a court date in D.C. Superior Court.
19          At Ms. Bailey’s Rule 5 initial appearance on June 26, 2024, the Court directed her to
20   arrange a court date in one of two ways; either: (1) reporting in-person to the D.C. Superior
21   Court by July 26, 2024; or (2) otherwise filing a status report by July 26 if “other arrangements”
22   could be made. ECF No. 2. The Court did so because the D.C. Superior Court did not provide
23   the Court an appearance date for Ms. Bailey in advance of the Rule 5 hearing. But,
24   acknowledging that travel to D.C. simply to get a court date (possibly well into the future)
25
26          1
               The defense has communicated with counsel for the government, which has expressed
     that it does not have an objection to this requested extension.
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 1   would be a significant burden, the Court indicated it would permit Ms. Bailey to schedule a
 2   court date in D.C. from Nevada if possible. See id.
 3          Ms. Bailey moves for a 10-day extension to do so. Ms. Bailey, with the assistance of
 4   her pretrial services officer, has been making diligent efforts to try to schedule a D.C. court date
 5   without physically traveling there. 2 So far, those efforts have been unsuccessful, but it appears
 6   doing so may be possible and would save Ms. Bailey significant expense (and time). If that
 7   does not happen, Ms. Bailey would naturally plan to travel to get a court date in-person by that

 8   newly-set deadline. In the meantime, however, Ms. Bailey asks for a 10-day extension to the

 9   relevant deadline.

10
11          DATED July 24, 2024.

12                                                     RENE L. VALLADARES
                                                       Federal Public Defender
13
14                                               By: /s/ Sean A. McClelland
                                                     SEAN A. MCCLELLAND
15                                                   Assistant Federal Public Defender
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18
     IT IS SO ORDERED.
19
20
     _________________________________
21   Craig S. Denney, U.S. Magistrate Judge
22
     DATED: July 24, 2024
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            2
26             The defense has also coordinated with attorneys at the Public Defender Service in
     D.C., who are aware of Ms. Bailey’s case and have provided additional logistical details about
     other in-person mechanisms of scheduling hearings in D.C. Superior Court.


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